Case 2:03-cr-20195-.]P|\/| Document 30 Filed 07/07/05 Page 1 of 5 Page|D 33
UN|TED STATES D|STR|CT COURT

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UN|TED STATES OF AN|ER|CA

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2:03cn20195-o1-M1 W'L F

ROBERT O’SHAY TAYLOR
Robert M. Brannon, Jr.. Retained
Defense Attorney
295 Washington Avenue, Suite 3
Memphis, TN 38103

 

JUDGMENT |N A CFthlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment in Case Number 02-20260 and
Count 1 of the information in Case Number 03-20195 on May 30, 2003. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tiue & section N_aty_ca_ei_@_tf_e_n_s_e Offense Num___bg;(§)
Concluded
21 U.S.C. §§ 841 (a)(t) & Possession of a Contro||ed Substance 01/31/2002 1 in Case #
(b)(t)(B) with lntent to Distribute Cocaine Base 02-20260
21 U.S.C. §§ 846 & Conspiracy to Possess with intent to 01/28/2002 1 in Case #
841 (aa)(1) & (b)(1)(A) Distribute Cocaine 03-20195

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Niandatory
Victims Restitution Act of 1996

Count(s) 2 in Case Number 02-20260 is dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date 01 Birth: 06/17/1971 Ju|y 01 , 2005
Deft’s U.S. Nlarsha| No.: 14484-076

Defendant’s |V|ai|ing Address:

4199 Rosewind Circle
Memphis, TN "M

JON PH|PPS MCCALLA
STATES DlSTRlCT JUDGE

 

Juiy 7 , 2005

This document entered on the docket sheet ln compliance
with Fluio 35 and/or 32(b) FFtCrP on ' "O 6

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Cases No: 2:02CR20260 & 2:03CR20195 Defendant Name: Flobert O’Shay TAYLOR Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 94 Months under Count 1 of indictment Number
02-20260 and under Count 1 of information Number03-20195 to run Concurrent|y with
each other.

The defendant is remanded to the custody of the United States |Viarshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES N|AFtSHAL
By:

 

Deputy U.S. Marshal

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Cases No: 2:02CF320280 & 2:03CFt20195 Defendant Name: Robert O’Shay TAYLOFi Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a total term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful-use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each mcnth;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a feiony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Cases No: 2:020F320260 & 21030H20195 Defendant Name: Robert O’Shay TAYLOFi Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

1 1, The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment as directed by the
Probation Officer;

The defendant shall seek and maintain full-time employment;

The defendant shall participate in DNA collection.

CR|M|NAL N|ONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Total Ftestitution

$100.00 - #02-20260
$100.00 - #03-20195

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUTION
No Ftestitution was ordered.

  

UNITED sTATE DRISTIC COURT - WESTER DSRTCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:03-CR-20195 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Robert M. Brannon

LAW OFFICE OF ROBERT M. BRANNON
295 Washington Avenue

Ste. 3

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

